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                                   MB&H
                              MORRIS BOWER & HAWS PLLC
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                       12550 W. Explorer Drive, Suite 100, Boise, Idaho 83713
                             1305 12th Ave. Rd., Nampa, Idaho 83686
                              Tel: (208) 345-3333Fax: (208) 345-4461

Daniel W. Bower
dbower@morrisbowerhaws.com

                                           August 15, 2022

Sent via ECF

The Honorable B. Lynn Winmill
United States District Court Judge

Re:    United States v. State of Idaho; Case No. 1:22-cv-329
       Letter Brief of Intervenor-Defendant Idaho Legislature

Dear Judge Winmill:

        Intervenor-Defendants (“Legislature”) hereby submit the requested letter brief on this
important issue: In the context of a motion for preliminary injunction, where the parties by
competent but opposing declarations have created a genuine issue of fact material to the
resolution of the motion, may the district court resolve the motion without resort to live
testimony?

       The declarations now being prepared—and to be timely filed—in opposition to the
declarations of Doctors Cooper, Corrigan, Seyb, and Fleisher give rise to exactly that issue.

        The Second, Third, Seventh, and Eleventh Circuits have answered that issue with a
“no.” Those circuits do so on the grounds that (i) the materiality of the disputed issue of fact
requires that it must be resolved in order to correctly rule on the motion for preliminary
injunction, (ii) the disputed material issue of fact cannot be resolved sensibly without
credibility determinations, and (iii) a district court cannot properly make the necessary
credibility determinations on the basis of only cold declarations. McDonald’s Corp. v.
Robertson, 147 F.3d 1301, 1312-13 (11th Cir. 1998); Swiderek v. Cont’l Micro, Inc., 680 F.2d
37, 38 (7th Cir. 1981) (“If witnesses are not heard the trial court will be left in the position of
preferring one piece of paper to another.”) (citing Sims v. Green, 161 F.2d 87, 88 (3d Cir.
1947)). Thus, live testimony is required.

       The Ninth Circuit, however, appears to have rejected this approach. Int’l Molders’ &
Allied Workers’ Local Union No. 164 v. Nelson, 799 F.2d 547, 555 (9th Cir. 1986). In doing
so, however, the Ninth Circuit has never said that a district court may not receive live testimony
in these circumstances, and some district courts in the circuit have elected to do just that.
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Mecinas v. Hobbs, 30 F.4th 890, 895 (9th Cir. 2022); Aguierre v. Chula Vista Sanitary Serv.
& Sani-Tainer, Inc., 542 F.2d 779, 781 (9th Cir. 1976).

        What the Ninth Circuit has also not done, according to our necessarily rapid research,
is provide any guidance on how the district court, in the absence of live testimony, is to treat
and “solve” the opposing factual accounts in resolving the motion for preliminary injunction.
That lack of guidance is problematic because, after all, the dispute is over facts material to
resolution of the motion.

        In the absence of such guidance, we urge resort to fundamental principles. First, the
622 Statute comes before this Court with a presumption of constitutionality. E.g., Burlington
N. R. Co. v. Dep't of Pub. Serv. Regul., 763 F.2d 1106, 1114 (9th Cir. 1985). Second, it is
Plaintiff’s burden to establish each element of its entitlement to a preliminary injunction,
including the likelihood-of-success-on-the-merits element. E.g., Puente Arizona v. Arpaio, 821
F.3d 1098, 1103 (9th Cir. 2016). Third, Plaintiff cannot meet its burden if one or more of those
elements requires a showing by admissible evidence of a material fact and Plaintiff fails to
show that that material fact is itself likely to be accepted in the end. E.g., Patterson v. Daniels,
No. CIV.A. 12-1674, 2013 WL 2100546, at *21 (E.D. La. Mar. 22, 2013), report and
recommendation adopted, No. CIV.A. 12-1674, 2013 WL 2100527 (E.D. La. May 14, 2013)
(“Plaintiff's allegations must be accepted as true for the initial screening process required for
his original complaint. . . . No such requirement . . . applies to plaintiff's request for injunctive
relief. Under these circumstances, I cannot conclude that plaintiff has a substantial likelihood
of success on the merits for purposes of the entry of preliminary injunctive relief.”); Aliah K.
ex rel. Loretta M. v. Hawaii, Dep't of Educ., 788 F. Supp. 2d 1176, 1196 (D. Haw. 2011); see
also Stanley v. Univ. of Southern California, 13 F.3d 1313 (9th Cir.1994) (relief must be denied
unless the facts and law clearly favor the moving party).

       These fundamental principles, when applied in the present circumstances of this case,
mean that the Government cannot meet its burden and therefore no preliminary injunction can
issue—unless and until there is live testimony adequate for the making of credibility
determinations. Thus, the Government’s opposition to live testimony is tantamount to a
withdrawal of its motion.

                                              Respectfully submitted,

                                              MORRIS BOWER & HAWS PLLC

                                              By:    /s/ Daniel W. Bower
                                                      Daniel W. Bower

                                               /s/ Monte Neil Stewart
                                              Monte Neil Stewart

                                              Attorneys for Intervenor-Defendants
